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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


ELISABETH CLEVELAND, AMY                      CASE NO. 20-cv-1906-WMW-
LARCHUK, CHRISTOPHER                          KMM
REDMON, DHAVAL SHAH, and
THOMAS MCCORMICK,                            DECLARATION OF BRIAN DEVERY
on behalf of themselves and all others       REGARDING NOTICE PROCEDURES
similarly situated,

         Plaintiffs,
   v.

WHIRLPOOL CORPORATION,

         Defendant.



         I, Brian Devery, hereby declare under penalty of perjury pursuant to 28 U.S.C.

§ 1746 that the following is true and correct to the best of my knowledge and belief:

         I am over 21 years of age and am not a party to this action. I have personal

knowledge of the facts set forth herein and, if called as a witness, could and would

testify competently thereto.

         1.    I am a Senior Project Manager with Angeion Group, LLC (“Angeion”),

located at 1650 Arch Street, Suite 2210, Philadelphia, Pennsylvania.

         2.    Angeion has administered class action settlements involving millions of

class members. A representative list of the settlements administered by Angeion is

available at http://www.angeiongroup.com/cases.htm. Through the administration of

the settlements referenced above, Angeion has received, processed, and secured data

from defendants and other sources. Angeion has analyzed settlement class member


                                         EXHIBIT 1
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data including performing deduplication, National Change of Address searches

(“NCOA”) and address verification searches (“skip traces”). Angeion has successfully

implemented noticing campaigns involving direct mail notice, email notice, text

noticing, print publication, digital and social media for millions of potential class

members. Further, Angeion has analyzed and reported on class member data obtained

through claim forms submitted via mail and through online claims filing, class member

correspondence, objections to the settlement, exclusion requests and other means.

Angeion is experienced in the application of complex claim calculations and, where

applicable, tax withholding and reporting, as required by federal, state, and local taxing

authorities, as well as in reviewing settlement agreements and court orders.

       3.     Angeion is not related to or affiliated with Plaintiff Elisabeth Cleveland,

Amy Larchuk, Christopher Redmon, Dhaval Shah or Thomas McCormick

(“Plaintiffs”), Defendant Whirlpool Corporation, or the counsel representing the

Parties in this litigation.

       4.     Angeion was appointed as the Settlement Administrator to provide

notification and claims administration services in this matter. Angeion’s duties in this

Settlement have and will include: (a) receiving and analyzing the Settlement Class

Member data (“the Settlement Class Member List”); (b) creating a website with online

claim filing capabilities; (c) receipt of general mail and correspondence; (d) establishing

an email address to receive Settlement Class Member inquiries; (e) establishing a toll-free

number with an Interactive Voice Response (IVR) system; (f) preparing and sending

Email Notice; (g) Preparing and sending mailed notice; (h) receiving and processing
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opt-outs and objections; and (i) such other tasks as counsel for the Parties or the Court

orders Angeion to perform.

      5.     On November 8, 2021, pursuant to the Class Action Fairness Act, 28

U.S.C. § 1715 (“CAFA”), Angeion, on behalf of the Defendants, caused notice of the

Settlement and related materials (collectively, “CAFA Notice”) to be sent to the

Attorney General of the United States, the Attorneys General of all U.S. states and

territories, and the District of Columbia. A copy of the CAFA Notice is attached hereto

as Exhibit A.

      6.     On or about January 10, 2022, Angeion received a data file containing

1,672,690 records. The data file consisted of names, email addresses, model, and serial

numbers.

      7.     On January 26, 2022, Angeion created and is currently hosting a dedicated

website entitled www.WhirlpoolDishwasherSettlement.com. The website contains a

summary of the Settlement; answers to frequently asked questions regarding the

Settlement; allows Settlement Class Members to contact the Settlement Administrator

with any questions; provides important dates, such as the Final Approval Hearing, and

the Exclusion and Objection deadlines; includes important Court documents, such as

the Preliminary Approval Order, the Settlement Agreement, and the Long Form

Notice; and allows Settlement Class Members the opportunity to submit a claim online.

      8.     On January 26, 2022, Angeion established and is still maintaining a toll-

free number, 1-833-940-3377, for Settlement Class Members to call and obtain additional

information regarding the Settlement using an IVR system. As of March 27, 2022, 3,657

Settlement Class Members have called the IVR.
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       9.    Angeion received Word versions of the Long Form Notice, Postcard Notice

and Email Notice from counsel. Angeion prepared and formatted drafts of the materials

that counsel reviewed and approved. True and correct copies of the Long Form Notice,

Postcard Notice and Email Notice are attached hereto as Exhibits B, C and D.

       10.   Angeion performed email validation on all emails prior to sending the Email

Notice. Of the 1,212,862 records containing an email address, 157,289 were determined

to be invalid. From January 27, 2022, Angeion caused 1,055,465 email notices to be

sent. On January 21, 2022, Angeion caused 78,807 Email Notices to be resent to any

email address that returned a soft bounce. Of the 1,055,465 emails attempted for

delivery, 67,899 emails ultimately bounced.

       11.   Of the 67,899 emails that bounced, 67,827 records contained a mailable

address and 72 contained an invalid address. Angeion mailed a Postcard notice to these

67,827 valid addresses.

       12.   Of the remaining 617,117 records without a valid email, 263 also did not

contain a valid mailing address. Prior to mailing Postcard Notices to potential class

Members, Angeion performed a National Change of Address search on each address and

updated the mailing records and its database with any updated information provided.

       13.   On January 27, 2022, Angeion caused the mailing of 616,854 Postcard Notices

via First Class Mail to potential Class Members with a valid mailing address. Of the total

683,944 Postcard Notices mailed, 78,081 were returned as undeliverable. Angeion has

completed a skip trace on 77,719 returned Postcard Notices and located an updated

address for 49,742 records. Angeion has also received forwarding addresses from the
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USPS for 10,271 records. Postcard Notices are remailed to the updated addresses, skip

trace and forwarding addresses on a rolling basis, as updated information is received.

       14.   On January 27, 2022, Angeion commenced the internet banner notice and

social media notice. These campaigns ran concurrently for approximately four

consecutive weeks. As of March 27, 2022, a total of 74,422,858 digital banner ads were

served, 14,073,903 social media ads were served, and 71,055 paid searches were

completed. Copies of the banner and social media ad notices utilized in this campaign

are attached hereto as Exhibits E and F.

       15.   As of March 27, 2022, Angeion has received and processed Thirty-Nine

timely postmarked requests for exclusion from the Settlement. The names of the

individuals who requested exclusion from the Settlement is attached hereto as Exhibit G.

The deadline for requesting exclusion is March 17, 2022.

       16.   As of March 27, 2022, Angeion has received two timely postmarked

objections to the Settlement. The deadline for objecting to the Settlement was March 17,

2022. Copies of the objections are attached hereto as Exhibit H.

       17.   Angeion is continuing to receive and process claims submitted

electronically through the Settlement Website, and will do so through conclusion of the

July 26, 2022, deadline to submit claims for past diverter seal leaks (defined in the

Settlement Agreement) and 35 days following December 31, 2025, the last qualifying

date to submit claims for future diverter seal leaks (defined in the settlement agreement).

To prevent fraud, the online settlement claim form was programmed with verifications

that automatically check and validate the Model and Serial numbers provided during

the claim filing process as well as alert claimants to fatal errors in their online claims.
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Claims that do not contain a valid Model and Serial number were not permitted to be

filed through the online claim portal.

       18.   The deadline to submit a claim in this matter is July 26, 2022.

       19.   To date, Angeion has billed $510,924.72 to effectuate notice and administer

the Settlement. Angeion estimates that it will bill an additional approximate amount of

$738,315.28 to complete administration of the Settlement including distribution.



I declare under penalty of perjury under the laws of the State of Minnesota that the above

is true and correct to the best of my knowledge and that this declaration was executed on

March 27, 2022, in Oakdale, NY.

                                         _________________________
                                         Brian S. Devery
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                 Exhibit A
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                                                                 1650 Arch Street, Suite 2210
                                                                 Philadelphia, PA 19103
                                                                 (p) 215-563-4116
                                                                 (f) 215-563-8839
                                                                 www.angeiongroup.com


                                                                 November 8, 2021

VIA USPS PRIORITY MAIL

United States Attorney General, State Attorneys
General, and Appropriate Officials


Re: Notice of Class Action Settlement
Elisabeth Cleveland v. Whirlpool Corporation

Dear Counsel or Official:

        Angeion Group, an independent claims administrator, on behalf of Defendant Whirlpool Corporation in
the below-described action, hereby provides your office with this notice under the provisions of the Class Action
Fairness Act (“CAFA”), 28 U.S.C. § 1715, to advise you of the following proposed class action settlement:

        Case Name: Elisabeth Cleveland v. Whirlpool Corporation
        Index Number: 0:20-cv-01906-WMW-KMM
        Jurisdiction: United States District Court District of Minnesota
        Date Settlement Filed with Court: October 29, 2021

        In accordance with the requirements of 28 U.S.C. § 1715, please find copies of the following documents
associated with this action on the enclosed CD-ROM:

1. 28 U.S.C. § 1715(b)(1)-Complaint: Class Action Complaint, filed with the Court on September 4, 2020; First
   Amended Class Action Complaint, filed with the Court on November 25, 2020; and the First Amended
   Consolidated Class Action Complaint, filed with the Court on August 20, 2021.

2. 28 U.S.C. § 1715(b)(2)-Notice of Any Scheduled Judicial Hearings: Plaintiffs’ Unopposed Motion for
   Preliminary Approval of the Settlement Agreement is currently scheduled for a hearing on December 10,
   2021. No other judicial hearings are currently scheduled.

3. 28 U.S.C. § 1715(b)(3)-Notification to Class Members: The proposed Long Form Notice, Postcard Notice,
   Digital Media Notice and Claim Form, filed with the Court on October 29, 2021.

4. 28 U.S.C. § 1715(b)(4)-Class Action Settlement Agreement: Class Action Settlement Agreement and
   Release, filed with the Court on October 29, 2021. Also included are Plaintiffs’ Unopposed Motion for
   Preliminary Approval of Class Action Settlement filed with the Court on October 29, 2021; Plaintiffs’
   Memorandum of Law in Support of Unopposed Motion for Preliminary Approval of Class Action Settlement
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    filed with the Court on October 29, 2021; Declaration of Frank Bernatowicz in Support of Plaintiffs’ Motion
    for Approval of Class Settlement filed with the Court on October 29, 2021; Joint Declaration of Proposed
    Class Counsel filed with the Court on October 29, 2021; and the Proposed Preliminary Approval Order filed
    with the Court on November 2, 2021.

5. 28 U.S.C. § 1715(b)(5)-Any Settlement or Other Agreements: Other than the Settlement Agreement, no
   other settlements or other agreements have been contemporaneously made between the Parties.

6. 28 U.S.C. § 1715(b)(6)-Final Judgment: The Court has not issued a Final Judgment or notice of dismissal as
   of the date of this CAFA Notice.

7. 28 U.S.C. § 1715(b)(7)(B)-Estimate of Class Members: Approximately 6,800,000 Class dishwashers were
   sold during the Class Period throughout the United States and its Territories. A reasonable estimate of the
   number of known Class dishwashers shipped by Whirlpool (the vast majority of which were shipped to
   Whirlpool’s trade customers for further distribution) to each State and Territory is included on the enclosed
   CD-ROM. The estimated proportionate share is not available at this time because the dishwashers shipped
   to each state may not represent the number of dishwashers sold in each state and this share is contingent
   on Class Members participating in the claims process.

8. 28 U.S.C. §1715(b)(8)-Judicial Opinions Related to the Settlement: The Court has not issued any judicial
   opinions related to the Settlement at this time.

         If you have questions or concerns about this notice, the proposed settlement, or the enclosed materials,
or if you did not receive any of the above-listed materials, please contact this office.

                                                                 Sincerely,

                                                                 Angeion Group
                                                                 1650 Arch Street, Suite 2210
                                                                 Philadelphia, PA 19103
                                                                 (p) 215-563-4116
                                                                 (f) 215-563-8839
  Enclosures




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                 Exhibit B
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                     UNITED STATES DISTRICT COURT, DISTRICT OF MINNESOTA


     If you purchased a Whirlpool-manufactured
 dishwasher, you may be entitled to benefits from a
               class action settlement.
               A federal court authorized this Notice. This is not a solicitation from a lawyer.


 •   A Settlement has been reached in a class action lawsuit against Whirlpool Corp. (“Whirlpool” or
     “Defendant”) regarding certain dishwashers manufactured from 2010 through 2017.

 •   If you are included in the Settlement, you may qualify for a cash reimbursement or cash rebate to remedy
     past or future diverter seal leaks that may cause the diverter motor to malfunction and, in some instances,
     result in water leaking underneath your dishwasher.

 •   Your legal rights are affected whether you act or don’t act. Read this notice carefully.

                 YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
                                        Submitting a Claim Form is the only way to seek benefits relating to a
                                        Class Dishwasher with diverter seal leaks. For repairs or replacements
SUBMIT A CLAIM FORM                     occurring prior to the date you received the settlement Notice your
                                        deadline to submit a claim form is July 26, 2022. For repairs or
Earliest Deadline:                      replacements occurring after the date you received the settlement
July 26, 2022                           Notice your deadline to submit a claim is within 90 days following the
                                        repair.

                                        Excluding yourself, or “opting out,” is the only option that allows you to
EXCLUDE YOURSELF                        ever be part of another lawsuit against Whirlpool for the legal claims
                                        resolved by this Settlement. If you exclude yourself from this
Deadline:                               Settlement, you will not be entitled to any of the benefits provided by
March 17, 2022                          this Settlement.

OBJECT
                                        Mailing an objection is the only way to tell the Court that you are
Deadline:                               unhappy with any aspect of the Settlement.
March 17, 2022
ATTEND THE FAIRNESS HEARING
                                        You may request an opportunity to speak in Court about the fairness
May 26, 2022 at                         of the Settlement.
9:00 am
                                        If you do not object to the settlement, exclude yourself from the
                                        settlement or make a claim for a past or future diverter seal leak as
                                        part of this settlement, you will not receive any benefits of this
DO NOTHING                              Settlement, and you will give up your right to ever be part of another
                                        lawsuit against Defendant about the legal claims resolved by this
                                        Settlement.

 •   These rights and options are explained in this Notice.
 •   The Court in charge of this case still has to decide whether to approve the Settlement. If the Court approves
     the Settlement and you submit a valid claim, benefits will be issued after any appeals are resolved. Please
     be patient.




QUESTIONS? CALL (833) 940-3377           OR GO TO www.whirlpooldishwashersettlement.com
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                                             BASIC INFORMATION
  1. Why was this notice issued?
A federal court authorized this notice because you have a right to know about the proposed Settlement and about
all of your options before it decides whether to approve the Settlement. This notice explains the Lawsuits, the
Settlement, your legal rights, the benefits that are available, and who may qualify for those benefits.
Judge Wilhelmina M. Wright of the United States District Court, District of Minnesota is overseeing the Settlement,
which resolves four similar cases filed by the same law firm, known as Cleveland v. Whirlpool Corp., Case No. 0:20-
cv-01906-WMW-KMM (D. Minn.), and (2) Larchuk v. Whirlpool Corp., Case. No. 2:20-cv-04442-BMS (E.D. Pa.). (3)
Redmon v. Whirlpool Corp., Case No. 1:20-cv-06626 (N.D. Ill.) and (4) Shah v. Whirlpool Corp., Case No. 3:21-cv-
02739-JD (N.D. Cal.) (the “Lawsuits”). The people who sued are called the “Plaintiffs,” and the company sued,
Whirlpool, is called the “Defendant.”

  2. Why did I receive this notice?
If you received a notice by mail or email, the Defendant’s records indicate that you may have purchased a Whirlpool-
manufactured dishwasher from 2010 through 2017 that has a model and serial number listed as eligible at
www.whirlpooldishwashersettlement.com. These specific dishwashers are referred to as the “Class Dishwashers”
throughout this notice.

  3. What is the lawsuit about?
The Lawsuits claim that the Class Dishwashers can be susceptible to diverter shaft seal leaks, which may cause
the diverter motor to malfunction and in some instances result in water leaking onto the floor (a “Diverter Seal
Leak”). The Lawsuits further claim that the Defendant breached warranties, was negligent, and fraudulently
concealed diverter seal defects in connection with the manufacture and sale of the Class Dishwashers.
Defendant denies that there is any diverter seal defect in the Class Dishwashers. Defendant also denies that it
violated any law or engaged in any wrongdoing.
The Settlement does not include personal injury or property damage claims other than for damage to the
Class Dishwasher itself, and the Settlement does not release any of these claims.

  4. Why is this a class action?
In a class action, one or more people called “Class Representatives” sue for all people who have similar claims.
Together, these people with similar claims are called a “Settlement Class” or “Class Members.” One court resolves
the legal issues for all Class Members, except for those who exclude themselves from the Settlement Class.

  5. Why is there a Settlement?
The Court did not decide which side was right or whether the Class Dishwashers are defective. Instead, both
sides agreed to the Settlement to avoid the costs and risks of further litigation and to provide benefits to Class
Members. The Settlement does not mean that the Court found that Defendant broke any laws or did anything wrong.
The Class Representatives and the lawyers representing them (called “Class Counsel”) believe that the Settlement
is in the best interests of all Class Members.

                               THE SETTLEMENT CLASS—WHO IS INCLUDED
  6. Who is included in the Settlement?
The Settlement Class includes all residents of the United States and its territories who: (a) purchased a new Class
Dishwasher; (b) acquired a Class Dishwasher as part of the purchase or remodel of a home; or (c), received a new
Class Dishwasher as a gift.




  QUESTIONS? CALL (833) 940-3377           OR GO TO www.whirlpooldishwashersettlement.com
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 7. How do I know if I am a Class Member?
To determine if you are a Class Member, you need to verify that the model number and serial number of your
dishwasher are listed among qualifying Class Dishwashers in the Settlement. You can compare your information to
a list of qualifying Class Dishwashers available at the Settlement Administrator’s website,
www.whirlpooldishwashersettlement.com.

  8. Who is not included in the Settlement Class?
The following are not included in the Settlement Class: (1) officers, directors, and employees of Defendant and its
parents and subsidiaries; (2) insurers of Class Members; (3) subrogees (someone who has assumed the rights of
another person) or all entities that claim to be subrogated to the rights of a Class Dishwasher purchaser, a Class
Dishwasher owner, or a Class Member; and (4) all third-party issuers or providers of extended warranties or service
contracts for the Class Dishwasher.

                      THE SETTLEMENT BENEFITS—WHAT YOU GET IF YOU QUALIFY
  9. What benefits does the Settlement provide?
The Settlement provides for a rebate or cash reimbursement, up to $225 and subject to other limits, for documented
out-of-pocket expenses to repair or replace your dishwasher’s diverter motor or sump assembly, or to replace your
dishwasher with a new model, due to a Diverter Seal Leak occurring within eight years of your dishwasher’s date
of manufacture.

  10. Tell me more about the reimbursements for Past Diverter Seal Leaks.
Class Members who experienced a Diverter Seal Leak in their Class Dishwasher, and who paid out-of-pocket for
either (1) a repair of their Class Dishwasher that included replacement of the diverter motor, diverter seal, sump, or
sump assembly in response to a Diverter Seal Leak, or (2) replacement of their Dishwasher in response to a Diverter
Seal Leak within six weeks of the leak, are entitled to their choice of (A) cash reimbursement of the actual amount
the Class Member paid for repair expenses or replacement of the dishwasher, supported by documentary proof, up
to up to a maximum amount determined by the age of the dishwasher, as shown in the chart below, or (B) a cash
rebate toward the purchase of a new dishwasher, as shown in the chart below:

   Years From Date of            Cash              Maximum           Alternative Cash Rebate Toward Purchase
   Manufacture When        Reimbursement        Reimbursement                    of New Dishwasher
     Paid Qualifying           for Paid         as % of Average
   Repair Performed or     Qualifying Repair     Cost of Repair
      Replacement          or Replacement
       Purchased

   1-2                            $225                100%          Years 1-5: $200 toward purchase of new
                                                                    KitchenAid-brand dishwasher, or $150 for
   3                            $202.50                90%          new Whirlpool-brand or Maytag-brand
                                                                    dishwasher
   4-5                          $157.50                80%

   6                              $135                 60%          Year 6: $175 toward new KitchenAid-brand
                                                                    dishwasher or $125 for new Whirlpool-
                                                                    brand or Maytag-brand dishwasher

   7                             $67.50                30%          Years 7-8: $100 toward new Kitchen-Aid,
                                                                    Whirlpool, or Maytag-brand dishwasher
   8                                $0                 0%



         (Continued on next page)

  QUESTIONS? CALL (833) 940-3377            OR GO TO www.whirlpooldishwashersettlement.com
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Eligibility for this benefit requires all Class Members to submit their Class Dishwasher model and serial numbers
and to prove through the submission of documentary proof or, alternatively, a declaration for some requirements,
(1) that the Class Member purchased a Class Dishwasher new, or acquired a new Class Dishwasher as part of a
purchase or remodel of a home, or received a new Class Dishwasher as a gift, (2) that the Class Member
experienced a Diverter Seal Leak, and (3) that the Class Member paid out-of-pocket to repair or replace his or her
Class Dishwasher in response to a Diverter Seal Leak;
Class Members who previously received compensation or a voluntary benefit from Whirlpool for a Diverter Seal
Leak will have the amount of their reimbursement reduced by the amount of the compensation or benefit already
received.
Class Members who did not incur out-of-pocket repair expenses due to a Diverter Seal Leak within eight years of
the manufacture of the Class Dishwasher are not eligible for cash reimbursement or a rebate. The manufacture
date is established by the serial number and will be verified by the Settlement Administrator.

  11. What is the deadline to submit a Claim Form for a Past Diverter Seal Leak?
You will have until 180 DAYS AFTER NOTICE DATE to submit a Claim Form and all required documentation for a
Settlement payment for out-of-pocket expenses for a past Diverter Seal Leak.

  12. Tell me more about benefits available for Future Diverter Seal Leaks.
If you are a Class Member and you experience a Diverter Seal Leak after January 27, 2022 and within eight years
of the manufacture of your Class Dishwasher, you may be eligible to receive the same benefits described for a Past
Diverter Seal Leak in the response to Question 10 above.

  13. What is the deadline to submit a claim form for a Future Diverter Seal Leak?
All claims for future Diverter Seal Leaks must be submitted within 90 days after you first experience the Diverter
Seal Leak, and the Diverter Seal Leak must occur no later than eight years after the dishwasher was manufactured.

                           HOW TO GET BENEFITS—SUBMITTING A CLAIM FORM
  14. How many benefits can I receive?
If you qualify, you may receive one benefit for each Class Dishwasher that you purchased or acquired. You must
submit a separate Claim Form for each Class Dishwasher. You must elect the benefit you wish to receive at the
time you submit your Claim Form.

  15. How do I get a Settlement benefit to which I may be entitled?
You must complete and submit a Claim Form, including required documentation, either on-line or via U.S. Mail by
July 26, 2022 for a Past Diverter Seal Leak and within 90 days of experiencing a Future Diverter Seal Leak. Claim
Forms are available for download and submission at www.whirlpooldishwashersettlement.com. You can also
contact    the    Settlement     Administrator   by    telephone     at   (833)    940-3377      by    email    at
info@whirlpooldishwashersettlement.com, or by writing to Dishwasher Settlement Claims Administrator, Cleveland
v. Whirlpool Corp. Dishwasher Settlement, Attn: Class Action Administrator, 1650 Arch Street, Suite 2210,
Philadelphia, PA 19103, to request a Claim Form. If you fail to provide the information requested on the Claim
Form or if you do not upload or mail your documentary proof, then you will not be entitled to any
compensation or benefit under this Settlement.

  16. What rights am I giving up by getting benefits and staying in the Settlement Class?
Unless you exclude yourself, you are staying in the Settlement Class. If the Settlement is approved and becomes
final, all of the Court’s orders will apply to you and legally bind you. Generally, that means you won’t be able to sue,
continue to sue, or be part of any other lawsuit against Defendant or other released parties (“Releasees”) for the
legal issues and claims resolved by this Settlement. Personal injury claims or claims for damage to property
other than to the Class Dishwasher itself are not affected or released by this Settlement. The specific rights
you are giving up are called Released Claims (see Question 17).



  QUESTIONS? CALL (833) 940-3377             OR GO TO www.whirlpooldishwashersettlement.com
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 17. What are the Released Claims?
The claims that you are releasing, the “Released Claims,” are all claims for economic loss relating to the use and
performance of the Class Dishwasher’s diverter seal, including all claims for out-of-pocket expense, diminution-in-
value, benefit-of-the-bargain, cost-of-repair, cost-of-replacement, cost-of-maintenance, or premium-price damages,
arising out of the Class Members’ purchases or uses of the Class Dishwashers. The released parties, also called
“the Releasees,” is Defendant, together with its predecessors and successors in interest, parents, subsidiaries,
affiliates, and assigns; (b) each of its past, present, and future officers, directors, agents, representatives, servants,
employees, attorneys, and insurers; and (c) all distributors, retailers, and other entities who were or are in the chain
of design, testing, manufacture, assembly, distribution, marketing, sale, installation, or servicing of the Class
Dishwashers. The Settlement is expressly intended to cover and include all such claims, actions, and causes of
action for economic losses or damages (including, but not limited to, claims for diminution-in-value, benefit-of-the-
bargain, cost-of-repair, cost-of-replacement, or premium-price damages), dealing whatsoever with the Class
Dishwasher diverter seals, diverter motors, or sump assemblies. The Released Claims, however, do not include
any claims for damage to property other than the Class Dishwasher itself or personal injury.
The complete Settlement Agreement describes the Released Claims in necessary legal terminology. Please read
it carefully. A copy of the Settlement Agreement is available at www.whirlpooldishwashersettlement.com. You can
also talk to one of the lawyers listed below for free or you can, of course, talk to your own lawyer at your own
expense if you have questions about the Released Claims or what they mean.

                     THE LAWYERS REPRESENTING YOU AND THE SETTLEMENT CLASS
  18. Do I have a lawyer in this case?
Yes. The Court appointed Harper Segui and Rachel Soffin of Milberg Coleman Bryson Phillips Grossman as Class
Counsel, to represent you and other Class Members. You will not be charged for the services of Class Counsel. If
you want to be represented by your own lawyer, you may hire one at your own expense.

  19. How will these lawyers be paid?
Class Counsel will ask the Court to award them up to $1,500,000 for attorney fees and reimbursement of the
litigation expenses and costs they incurred and/or advanced. They will also ask for service awards of $2,500.00 to
be paid to Class Representatives Elizabeth Cleveland, Amy Larchuk, Thomas McCormick, Christopher Redmon,
and Dhaval Shah out of the $1,500,000 for fees and expenses. If approved, Whirlpool will separately pay these
fees, costs, expenses, and service awards. These amounts will not reduce the amount of benefits available to
Class Members. In addition, Defendants have also agreed to pay the Settlement Administrator’s fees and
expenses, including the costs of mailing the Settlement Notices and distributing any payments owed to Class
Members as part of the Settlement.

                           EXCLUDING YOURSELF FROM THE SETTLEMENT CLASS
If you want to keep the right to sue or continue to sue Defendant about the legal claims in this lawsuit, and you don’t
want to receive benefits from this Settlement, you must take steps to exclude yourself from the Settlement. This is
sometimes called “opting out” of the Settlement Class.

  20. How do I get out of the Settlement?
To exclude yourself from the Settlement, you must request from the Settlement Administrator a Request for
Exclusion. You must provide your name, email address, mailing address, model number, and serial number of your
Class Dishwasher. To be valid, your Request for Exclusion must include all of the information requested, must be
individually signed, and must be individually sent to the Settlement Administrator at the address below with a
postmark no later than March 17, 2022.
                                               Class Action Opt-Outs
                                              Attn: Whirlpool Dishwasher
                                                     PO Box 58220
                                                Philadelphia, PA 19102




  QUESTIONS? CALL (833) 940-3377              OR GO TO www.whirlpooldishwashersettlement.com
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  21. If I exclude myself, can I still get benefits from this Settlement?
No. If you exclude yourself, you are telling the Court that you don’t want to be part of the Settlement Class in this
Settlement. You can only get Settlement benefits if you stay in the Settlement Class and submit a valid Claim Form
for benefits as described above.

  22. If I don’t exclude myself, can I sue Defendants for the same claims later?
No. Unless you exclude yourself, you are giving up the right to sue Defendants for the claims that this Settlement
resolves and releases (see Question 17). You must exclude yourself from this Settlement Class to start or continue
with your own lawsuit or be part of any other lawsuit involving the same claims.

                                        OBJECTING TO THE SETTLEMENT
You can tell the Court if you don’t agree with the Settlement or with any part of it.

  23. How do I tell the Court if I don’t like the Settlement?
If you do not exclude yourself from the Settlement, you may object to it. You can give reasons why you think the
Court should not approve the Settlement. The Court will consider your views before making a decision. To object,
you or your attorney must mail and cause to be postmarked a written objection and supporting papers to the
Settlement Administrator, Class Counsel, and Counsel for Whirlpool. Your objection must contain: (1) the name of
the Lawsuit (Cleveland v. Whirlpool Corp., Case No. 0:20-cv-01906-WMW-KMM); (2) your full name and current
address; (3) the serial number and model number of your Class Dishwasher; (5) the specific reasons for your
objection; (6) any evidence and supporting papers (including, but not limited to, all briefs, written evidence, and
declarations) that you want the Court to consider in support of your objection; (6) your signature; and (7) the date
of your signature.
You must mail your written objection to:
       Settlement Admin                      CLASS COUNSEL                         DEFENSE COUNSEL
 Class Action Objections             Harper T. Segui                        Andrew M. Unthank,
 Attn: Whirlpool Dishwasher          Rachel Soffin,                         Wheeler Trigg O’Donnell LLP
 PO Box 58220                        Milberg, Coleman, Bryson,              370 17th Street, Suite 4500
 Philadelphia, PA 19102              Phillips, Grossman, LLP                Denver CO 80202
                                     825 Lowcountry Blvd, Ste 101
                                     Mt. Pleasant, SC 29464

Your written objection must be mailed with a postmark no later than March 17, 2022.

  24. What is the difference between objecting and asking to be excluded from the
  Settlement?
Objecting is simply telling the Court that you don’t like something about the Settlement. You can object only if you
stay in the Settlement Class (do not exclude yourself). Excluding yourself is telling the Court that you don’t want to
be part of the Settlement Class. If you exclude yourself, you cannot object because the Settlement no longer affects
you.

                                       THE COURT’S FAIRNESS HEARING
The Court will hold a hearing to decide whether to approve the Settlement. You may attend and you may ask to
speak at the hearing, but you don’t have to.

  25. When and where will the Court decide whether to approve the Settlement?
The Court will hold a Fairness Hearing on May 26, 2022 at 9:00am, at the U.S. District Court for the District of
Minnesota, located at the Warren E. Burger Federal Building, 316 North Robert Street, Courtroom 7A, St Paul, MN
55101, to consider whether the Settlement is fair, adequate, and reasonable, and whether it should be finally
approved. If there are objections, the Court will consider them. The Court will listen to people who have asked to

  QUESTIONS? CALL (833) 940-3377             OR GO TO www.whirlpooldishwashersettlement.com
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speak at the hearing (see Question 29). The Court may also decide the amount of fees, costs, and expenses to
award Class Counsel and the payment amount to the Class Representatives. This hearing may be continued or
rescheduled by the Court without further notice to the Settlement Class.


 26. Do I have to come to the hearing?
No. Class Counsel is working on your behalf and will answer any questions the Court may have about the
Settlement. However, you are welcome to come at your own expense. If you mail an objection to the Settlement,
you don’t have to come to Court to talk about it. As long as you mail your written objection on time, sign it, and
provide all of the required information (see Question 23) the Court will consider it. You may also pay your own
lawyer to attend, but it’s not necessary.

  27. May I speak at the hearing?
Yes. You may ask the Court to speak at the Fairness Hearing. To do so, you must mail a written request to the
Court stating that it is your “Notice of Intent to Appear at the Fairness Hearing in Cleveland v. Whirlpool Corp., Case
No. 0:20-cv-01906-WMW-KMM” and serve copies of that Notice on Class Counsel and Defendant using the
addresses listed in Question 23. You must include your name, address, telephone number, and signature. If you
plan to have your own attorney speak for you at the hearing, you must also include the name, address and telephone
number of the attorney who will appear on your behalf. Your written Notice of Intent to Appear must be mailed to
the Court by 70 DAYS AFTER PRELIMINARY APPROVAL ORDER.

                                               IF YOU DO NOTHING
  28. What happens if I don’t do anything?
If you do nothing, you won’t get any benefits from this Settlement. If the Court approves the Settlement, you will be
bound by its terms, and you will give up your right to start a lawsuit, continue with a lawsuit, or be part of any other
lawsuit against Defendant and the other Releasees about the legal issues or claims resolved and released by this
Settlement.

                                         GETTING MORE INFORMATION

  29. What if I feel like I need more information about what I should or should not do?

This Notice summarizes the Settlement. More details are in the Settlement Agreement, available online at
www.whirlpooldishwashersettlement.com. If you have questions, you may contact the Settlement Administrator at
the address listed in response to Question 15, info@whirlpooldishwashersettlement.com, or 1-(833) 940-3377, or
 visit Class Counsel’s website (www.milberg.com) for their contact information should you wish to communicate with
them directly.


DO NOT WRITE OR CALL THE COURT, WHIRLPOOL, OR ANY APPLIANCE RETAILER, DEALER, OR AGENT
                FOR INFORMATION ABOUT THE SETTLEMENT OR THIS LAWSUIT.




  QUESTIONS? CALL (833) 940-3377             OR GO TO www.whirlpooldishwashersettlement.com
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                 Exhibit C
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                                                     Proof #4


                                                  Cleveland v. Whirlpool Corp.
  You may be eligible                             Dishwasher Settlement                                  PRESORTED
                                                  Class Action Administrator                         FIRST-CLASS MAIL
  for a benefit as part                           1650 Arch Street, Suite 2210                       U.S. POSTAGE PAID
                                                  Philadelphia, PA 19103                                    MAG
    of a class action
    settlement about                                                                                 Electronic Service
                                                                                                         Requested

       Whirlpool-
     manufactured
                                                                *WDW01257693*                            85621

      dishwashers.                                                     WDW01257693                       APFIELHLBIHOCOCMDIANFPDK
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For more information on the proposed                                                                     AGICAIGOKCACEOMIEAMGACMK

settlement, to file a claim or objection,               Postal Service: Please Do Not Mark Barcode
or to exclude yourself, visit
                                                        Notice ID: WDW01257693
www.whirlpooldishwashersettlement.com                   Confirmation Code: 14932
or contact the Settlement Administrator or
Class Counsel.                                          T140 P3
                                                        EDDY BERZAK
Do not contact the Court, Whirlpool,                    437 WARBURTON AVE APT 1
or any appliance retailer or dealer for                 HASTINGS ON HUDSON NY 10706-2890
information about the settlement.


                                FDDAAAFATFFAAAFFTDDDDATATTFFATTDFFAFAFTTFAAAADFAFDATAADFFFFFATTFD
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                                 Whirlpool        03/31/22
                                            1-25-22—        Page 20 of 54
                                                      Proof #4

                                       NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
A proposed settlement has been reached in a class action against Whirlpool alleging defects in certain Whirlpool-manufactured dishwashers built from 2010-2017.
This notice summarizes your legal rights. You should visit www.whirlpooldishwashersettlement.com to obtain more complete information about covered models,
the proposed settlement, and your rights. You also can write to the Settlement Administrator at the address on the reverse side or call 1-(833) 940-3377, to have a
Claim Form mailed to you.
What is the class action about? Plaintiffs allege that certain Whirlpool-manufactured dishwashers can be susceptible to diverter shaft seal leaks, which may cause
the diverter motor to malfunction and in some instances result in water leaking onto the floor (a “Diverter Seal Leak”).
What are my rights? The settlement class includes all persons who, while living in the United States, bought, acquired, or received as a gift new Whirlpool-
manufactured dishwashers built from 2010 through 2017. You can visit www.whirlpooldishwashersettlement.com to see a complete list of the dishwasher
models that are included in the settlement. Whirlpool’s records show that you may be a member of the settlement class and eligible to make a claim for a rebate or
cash reimbursement, up to $225 and subject to other limits, for documented out-of-pocket expenses to repair or replace your dishwasher’s diverter motor or sump
assembly, or to replace your dishwasher with a new model, due to a Diverter Seal Leak occurring within eight years of your dishwasher’s date of manufacture. To
claim this reimbursement benefit for a Diverter Seal Leak, however, you must submit documentary proof of these out-of-pocket expenses. To be eligible for a Past
Diverter Seal Leak claim (for a repair or replacement that occurred prior to the date you received this notice), you must submit a Claim Form to the Settlement
Administrator online at www.whirlpooldishwashersettlement.com or by mail at the address on the reverse side postmarked no later than July 26, 2022. If you
have a Future Diverter Seal Leak on or after January 27, 2022 and within eight years of your dishwasher’s date of manufacture you can receive this same coverage
for future repairs or replacements by submitting a Claim Form online or postmarked within 90 days of your Future Diverter Seal Leak. Class members who do
not meet the requirements in the Claim Form are not eligible for compensation.
How to request exclusion from the class. If you do not wish to participate in this class action, visit www.whirlpooldishwashersettlement.com to submit a Request
for Exclusion. You also can write to the Settlement Administrator at the address on the reverse side or call 1-(833) 940-3377, to have a Request for Exclusion
mailed to you. All requests for exclusion shall be individually submitted or postmarked no later than March 17, 2022 and must include all required information
to be valid. If you do not exclude yourself, you will lose your right to sue Whirlpool and obtain any compensation from them other than through this settlement.
How to make objections. If you remain in the class, you can comment on or object to the proposed settlement or Class Counsel’s fees by mailing a written objection
to the Settlement Administrator at the address on the reverse side, Class Counsel, and defense Counsel. Mail objections to defense Counsel at: Andrew M. Unthank,
Wheeler Trigg O’Donnell LLP, 370 17th Street, Suite 4500, Denver CO 80202, and to Class Counsel Harper T. Segui, Millberg, Coleman, Bryson, 825 Lowcountry
Blvd, Suite 101, Mt. Pleasant, SC 29464. The fairness hearing will be held at the Court on May 26, 2022 at 9:00 am. You or your attorney (if you choose to hire
one) may appear at the hearing by filing a notice and entry of appearance with the Court and mailing those to Class Counsel and defense Counsel. Objections must
be mailed and postmarked to the Administrator, Class Counsel, and defense Counsel no later than March 17, 2022. Entries of appearance must be filed with the
Court and served on Class Counsel and defense Counsel no later than March 17, 2022.
Class Counsel’s attorney fees and contact information. If the settlement is approved, the lawyers for Plaintiffs and the class (Class Counsel) will request an award
of attorney fees, reimbursement of litigation expenses, and service awards not to exceed the total amount of $1,500,000, to be paid by Whirlpool separately from and
in addition to the benefits to the Class. You can write to Class Counsel at: Harper T. Segui and Rachel Soffin, Milberg, Coleman, Bryson, Phillips, Grossman, LLP.
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                 Exhibit D
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Brian Devery

From:                                 Whirlpool Dishwasher Settlement Administrator
                                      <donotreply@whirlpooldishwashersettlement.com>
Sent:                                 Thursday, January 27, 2022 3:01 PM
To:                                   Brian Devery
Subject:                              [External] Legal Notice of Class Action Settlement - Cleveland v. Whirlpool Corp



   You don't often get email from donotreply@whirlpooldishwashersettlement.com. Learn why this is important
                               [ This is an External Email – Do Not Click Unsolicited Links or Attachments ]




              To: Brian Devery
              Claim Number: WHI0000001
              Confirmation Code: 10330621

                                              NOTICE OF CLASS ACTION LAWSUIT
                                                 AND PROPOSED SETTLEMENT

                If you purchased a Whirlpool-manufactured dishwasher built from 2010-2017, you may
              be entitled to benefits from a class action settlement. You must file a Claim Form by July
                  26, 2022 to receive a settlement benefit for diverter seal leaks that happened before
              January 27, 2022. For diverter seal leaks that took place after January 27, 2022, you must
                                              file a claim within 90 days of the leak.

                                     A Court authorized this notice. This is not a solicitation.

                                        Read this notice carefully, as it affects your rights.
               For more information, visit www.WhirlpoolDishwasherSettlement.com or call 1(833) 940-3377



                WHAT IS THIS CASE ABOUT?

                A proposed settlement has been reached in a class action against Whirlpool alleging
                defects in certain Whirlpool-manufactured dishwashers built from 2010-2017.This notice
                summarizes your legal rights. You should visit www.whirlpooldishwashersettlement.com to
                obtain more complete information about covered models, the proposed settlement, and
                your rights. You can download a claim form at the settlement website or submit your claim
                online. You can email the settlement Administrator at
                info@WhirlpoolDishwasherSettlement.com, write to the Settlement Administrator at the




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address below:
Cleveland v. Whirlpool Corp.
Dishwasher Settlement
Class Action Administrator
1650 Arch Street, Suite 2210
Philadelphia, PA 19103

or call 1-(833) 940-3377 to request a Claim Form mailed to you.

WHAT IS THE ACTION ABOUT?

The Lawsuits claim that the Class Dishwashers can be susceptible to diverter shaft seal
leaks, which may cause the diverter motor to malfunction and in some instances result in
water leaking onto the floor (a “Diverter Seal Leak”). The Lawsuits further claim that the
Defendant breached warranties, was negligent, and fraudulently concealed diverter seal
defects in connection with the manufacture and sale of the Class Dishwashers.

Defendant denies that there is any diverter seal defect in the Class Dishwashers.
Defendant also denies that it violated any law or engaged in any wrongdoing.

The Settlement does not include personal injury or property damage claims other
than for damage to the Class Dishwasher itself, and the Settlement does not release
any of these claims.

WHO IS INCLUDED IN THE SETTLEMENT?

The Settlement Class includes all residents of the United States and its territories who: (a)
purchased a new Class Dishwasher; (b) acquired a Class Dishwasher as part of the
purchase or remodel of a home; or (c), received a new Class Dishwasher as a gift,
manufactured from 2010 through 2017.

WHAT RELIEF DOES THE SETTLEMENT PROVIDE?

The Settlement provides for a rebate or cash reimbursement, up to $225 and subject to
other limits, for documented out-of-pocket expenses to repair or replace your dishwasher's
diverter motor or sump assembly, or to replace your dishwasher with a new model, due to a
Diverter Seal Leak occurring within eight years of your dishwasher's date of manufacture.
Please see the Long Form Notice for additional information.
You may file a claim online by clicking HERE.
You may also print a Claim Form by clicking HERE.




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   For Diverter Leaks taking place prior to January 27, 2022, you must submit your
claim online no later than July 26, 2022, or if mailed, your claim must be postmarked
                                 no later than July 26, 2022.

WHAT ARE MY OPTIONS?

If you stay in the Class, you will be legally bound by the Settlement’s terms and you will
release your claims against Defendants, regardless of whether you file a Claim Form. If you
do not want to be legally bound by the Settlement, you must Opt-Out of the Settlement by
March 17, 2022. If you Opt-Out, you will not be entitled to receive a Settlement benefit but
you will retain the ability to file your own claim against Defendants. If you do not Opt-Out,
you may Object to the Settlement by March 17, 2022. The Long Form Notice available on
the Settlement Website explains how to Opt-Out or Object. The Court will hold a Hearing on
May 26, 2022 to consider whether to approve the Settlement and a request by the lawyers
representing all Class Members for up to $1,500,000 for attorney fees and reimbursement
of the litigation expenses and costs they incurred and/or advanced. They will also ask for
service awards of $2,500.00 to be paid to Class Representatives Elizabeth Cleveland, Amy
Larchuk, Thomas McCormick, Christopher Redmon, and Dhaval Shah out of the
$1,500,000 for fees and expenses. If approved, Whirlpool will separately pay these fees,
costs, expenses, and service awards. These amounts will not reduce the amount of
benefits available to Class Members. You may ask to appear at the hearing, but you
don't have to.

FAIRNESS HEARING.

The Court will hold a Fairness Hearing on May 26, 2022, at 9:00am, at the U.S. District
Court for the District of Minnesota, located at the Warren E. Burger Federal Building, 316
North Robert Street, Courtroom 7A, St Paul, MN 55101, to consider whether the Settlement
is fair, adequate, and reasonable, and whether it should be finally approved. If there are
objections, the Court will consider them. The Court will listen to people who have asked to
speak at the hearing. The Court may also decide the amount of fees, costs, and expenses
to award Class Counsel and the payment amount to the Class Representatives. This
hearing may be continued or rescheduled by the Court without further notice to the
Settlement Class.

WHERE CAN I GET MORE INFORMATION? This Notice is only a summary. To get a copy
of the Long Form Notice, Claim Form or Settlement Agreement or to learn more visit: the
Settlement Website at www.whirlpooldishwashersettlement.com; call toll-free at 1(833) 940-




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3377; email Info@ whirlpooldishwashersettlement.com or you may write to the Settlement
Administrator at:

                               Cleveland v. Whirlpool Corp.
                                 Dishwasher Settlement
                                Class Action Administrator
                               1650 Arch Street, Suite 2210
                                 Philadelphia, PA 19103

DO NOT ADDRESS ANY QUESTIONS ABOUT THE SETTLEMENT OR THE
LITIGATION TO THE CLERK OF THE COURT OR THE JUDGE, DEFENDANT, OR
DEFENDANT’S COUNSEL.

By: Order of
Wilhelmina M Wright
United States District Judge
United State District Court, District of Minnesota




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                  Exhibit G
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                          Exclusion Requests
                        Cleveland v. Whirlpool
        First Name   Last Name     Exclusion Postmarked Date
        PAUL S       TRELLA          2/2/2022
        CHARLES P    KINNEY          2/2/2022
        SUSAN        GRUSCHOW        2/4/2022
        ANNELIESE    DAS            2/11/2022
        LARRY        ANDREW         2/11/2022
        MARIE        GORE           2/14/2022
        JAMES        HOWES          2/14/2022
        BARBARA      WILSON         2/14/2022
        DIANA L      JENSEN         2/14/2022
        LOUISE       FIDUCCIA       2/14/2022
        HARRY        TOWNSEND       2/15/2022
        DANITZA      NALL           2/15/2022
        MARIKAYE     MCKINLEY       2/15/2022
        GWEN         DOSSEY         2/16/2022
        MARGARET M   WALSH          2/25/2022
        JOY          CRISP          2/28/2022
        KEN          MAGLEBY        2/28/2022
        TONI         FUSCO           3/1/2022
        PAUL         ALDRIDGE        3/1/2022
        CARY         GOODMAN         3/1/2022
        DANNY        PLATAS          3/1/2022
        KAORU        PLATAS          3/1/2022
        YVONNE       YAMASAKI        3/1/2022
        HERCHEL      BILLINGSLEY     3/2/2022
        ANDREW       LONG            3/9/2022
        PHILLIP R    A' BECKET      3/11/2022
        MARK         HANSON         3/14/2022
        JOE          MCQUAID        3/15/2022
        RUTH         JOHNSON        3/17/2022
        BETTY F      MARCELYNAS     3/17/2022
        CHRISTEN     STEIGERWALD    3/17/2022
        KEVIN P      SIMONSON       3/18/2022
        JOHN         NORGORD        3/18/2022
        KEVIN P      SIMONSON       3/21/2022       3/10/2022
        CYNTHIA      ARMSTRONG      3/22/2022       3/17/2022
        ERIC         DEMMITT        3/22/2022       3/17/2022
        KEVIN P      SIMONSON       3/25/2022       3/17/2022
        DORY         CUTTING        3/25/2022       3/17/2022
        JOYCE        WESTFALL       3/25/2022       3/16/2022
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